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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-056 LKK
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO HEARING
                Plaintiff,               ) ON TSR VIOLATION
10                                       )
          vs.                            ) Court: Hon. LAWRENCE K. KARLTON
11                                       ) Time:   9:15 a.m.
                                         ) Date:   March 3, 2009
12   Natosha Saunders,                   )
                                         )
13              Defendant.
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15

16        A probation violation petition was filed against Ms. Saunders on
17   October 7, 2008.    The matter was calendared for February 10, 2009 for
18   hearing.   The parties agree that the matter should be continued to
19   March 3, 2009 and fully expect that all issues will be resolved prior
20   to that date.   That date is available with the Court and all parties
21   ask to calendar the matter for March 3, 2009.
22
     Dated: February 9, 2009            Respectfully submitted,
23

24
                                       __/s/ Shari Rusk___
25                                     Shari Rusk
                                       Attorney for Defendant
26                                     Natosha Saunders

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     Dated: February 9, 2009          __/s/_ Robin Taylor________
 1                                   /s/ Robin Taylor
                                    Assistant United States Attorney
 2

 3
                                       ORDER
 4

 5
          IT IS SO ORDERED.
 6
     DATED: February 9, 2009
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